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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION

TESLA MOTORS, INC.,

                 Plaintiff,
                                                               Case No. 1:16-cv-1158
v.
                                                               HON. JANET T. NEFF
RUTH JOHNSON, et al.,

            Defendants.
_______________________________/

                     FOURTH AMENDED CASE MANAGEMENT ORDER

          IT IS HEREBY ORDERED:

 Trial Date and Time                                                           FEBRUARY 4, 2020
                                                                                      9:00 a.m.
 Place:        401 Ford Federal Building, 110 Michigan, NW
               Grand Rapids, MI 49503
 Before:      Judge Janet T. Neff

 Counsel shall be present for an in-chambers conference one-
 half hour prior to the start of trial.
 Jury or Non Jury                                                                         Non-Jury
 Estimated Length of Trial                                                                   4 Days
 Motions in Limine                                                                 Deadline Expired
 Final Pretrial Conference                                   Date:              JANUARY 13, 2020
 Before Judge Janet T. Neff                                  Time:                    11:00 a.m.


1.        TRIAL DATE AND SETTING: This case is scheduled for trial before the Honorable Janet
          T. Neff, 401 Ford Federal Building, 110 Michigan, NW, Grand Rapids, Michigan, as set
          forth above.1 Counsel shall be present for an in-chambers conference one-half hour prior to
          the start of trial.




          1
      A copy of Judge Neff’s Information and Guidelines is available on the Court’s website
(www.miwd.uscourts.gov ). Attorneys must comply with the current version of the Guidelines.
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2.   MOTIONS:

     a.     Non-dispositive

     Non-dispositive motions shall be filed in accordance with W.D. Mich. LcivR. 7.3. They will
     be referred to a magistrate judge in Grand Rapids, Michigan, pursuant to 28 U.S.C.
     § 636(b)(1)(A). In accordance with 28 U.S.C. § 471 et seq., it is the policy of this Court to
     prohibit the consideration of discovery motions unless accompanied by a certification that
     the moving party has made a reasonable and good faith effort to reach agreement with
     opposing counsel on the matters set forth in the motion. See W.D. Mich. LcivR 7.1(d).

     b.     Motions in limine must be filed by the date set forth in the table above.

            i.      In cases where oral argument is heard and counsel wishes to project evidence
                    on the monitors in the courtroom, projection of exhibits is accomplished by
                    using the electronic evidence presentation equipment in the courtroom. The
                    evidence presentation allows for the projection of evidence on various
                    monitors located at the bench, the witness stand, the lectern, the jury box, and
                    the counsel tables. This technology eliminates the cumbersome process of
                    handling paper evidence. Counsel planning to use the equipment are
                    encouraged to contact the Court’s IT department well in advance of their
                    court proceeding to inquire about training and practice sessions. Practice
                    sessions and testing of the equipment must occur prior to the day of a
                    scheduled court appearance. You may contact the Court’s IT department by
                    sending an e-mail to courttech@miwd.uscourts.gov or by calling (616) 456-
                    2523. Information concerning the features of the system are available at the
                    court’s website: www.miwd.uscourts.gov (Click on Courtroom Technology
                    link). Counsel is also advised to notify chambers - in advance of the hearing
                    - of its intentions to use technology resources in the courtroom.


3.   SETTLEMENT CONFERENCE: The parties are under an ongoing obligation to engage in
     good faith settlement negotiations. No settlement conference has been scheduled at this
     time.

4.   FINAL PRETRIAL CONFERENCE: A final pretrial conference is scheduled at the date and
     time set forth above.

5.   PREPARATION OF PROPOSED FINAL PRETRIAL ORDER: Unless directed otherwise
     by this Court, a proposed pretrial order, entitled “Final Pretrial Order” shall be prepared
     jointly by counsel and filed fourteen (14) days prior to the final pretrial conference in the
     following form:

            A final pretrial conference was held on the ___ day of ______________. Appearing
            for the parties as counsel were:

                    (List the counsel who will attend the pretrial conference.)

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           1.    Exhibits: The following exhibits will be offered by the plaintiff and the
                 defendants:

                 (List jointly [JT EX ___] all exhibits, including demonstrative evidence and
                 summaries of other evidence. Exhibits expected to be used solely for
                 impeachment purposes need not be identified until trial. The exhibits shall
                 be identified on a form similar to Exhibit 1, attached to Judge Neff’s
                 Information and Guidelines. The complete list of exhibits on a form similar
                 to Exhibit 1 must be produced at the final pretrial conference. Failure to list
                 an exhibit required to be listed by this order will result, except upon a
                 showing of good cause, in a determination of non-admissibility at trial.
                 Where the parties are unable to agree on the inclusion of an exhibit, plaintiff
                 shall use numbers [1-99]; defendants shall use letters [A-Z]. Indicate with
                 respect to each exhibit whether and for what reason its admissibility is
                 objected to. Objections not contained in the Pretrial Order, other than
                 objections under Evidence Rule 402 or 403, shall be deemed waived except
                 for good cause shown. See Fed. R. Civ. P. 26(a)(3).)

           2.    Uncontroverted Facts: The parties have agreed that the following may be
                 accepted as established facts:

                 (State in detail all uncontroverted facts.)

           3.    Controverted Facts and Unresolved Issues: The factual issues remaining to
                 be determined and issues of law for the Court’s determination are:

                 (Set out each issue which is genuinely controverted, including issues on the
                 merits and other matters which should be drawn to the Court’s attention.)

           4.    Witnesses:

                 A.     Non-expert witnesses to be called by the plaintiff and defendants,
                        except those who may be called for impeachment purposes only, are:

                        (List names, addresses, and telephone numbers of all non-experts
                        who will testify. Indicate whether they are expected to testify in
                        person, by deposition videotape, or by reading of their deposition
                        transcript. Indicate all objections to the anticipated testimony of each
                        non-expert witness. For each witness listed, indicate whether the
                        witness will be called or merely may be called to testify.)




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                       B.     Expert witnesses to be called by the plaintiff and defendants, except
                              those who may be called for impeachment purposes only, are:

                              (List names, addresses, and telephone numbers of all experts who
                              will testify, providing a brief summary of their qualifications and a
                              statement of the scientific or medical field(s) in which they are
                              offered as experts. Indicate whether they will testify in person, by
                              deposition videotape, or by reading of their deposition transcript.
                              Indicate all objections to the qualifications or anticipated testimony
                              of each expert witness.)

                       C.     It is understood that, except upon a showing of good cause, no
                              witness whose name and address does not appear in the lists required
                              by subsections (a) and (b) will be permitted to testify for any purpose,
                              except impeachment, if the opposing party objects. Any objection to
                              the use of a deposition under Fed. R. Civ. P. 32(a) not reflected in the
                              Pretrial Order shall be deemed waived, except for good cause shown.

               5.      Depositions and Other Discovery Documents:

                       All depositions, answers to written interrogatories, and requests for
                       admissions, or portions thereof, that are expected to be offered in evidence
                       by the plaintiff and the defendants are:

                       (Designate portions of depositions by page and line number. Designate
                       answers to interrogatories and requests for admissions by answer or request
                       number. Designation need not be made of portions that may be used, if at all,
                       as impeachment of an adverse party. Indicate any objections to proposed
                       deposition testimony, answers to interrogatories, and admissions.)

               6.      Length of Trial: Counsel estimate the trial will last approximately _____ full
                       days, allocated as follows: _____ days for plaintiff’s case; _____ days for
                       defendants’ case; _____ days for other parties.

               7.      Form of Alternative Dispute Resolution: The form of Alternative Dispute
                       Resolution selected was ___________________. The outcome was
                       unsuccessful for the following reasons: ______________________.

               8.      Prospects of Settlement: The current status of settlement negotiations is:

                       (Indicate persons present during negotiations, progress toward settlement and
                       issues that are obstacles to settlement.)

        The proposed Final Pretrial Order will be signed by all counsel, signifying acceptance. Upon
approval by the Court, with such additions, deletions, or modifications as are necessary, the Final
Pretrial Order will be entered.


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6.    MATTERS TO BE CONSIDERED AT THE FINAL PRETRIAL CONFERENCE:

      a.     At the final pretrial conference, the parties and the Court will formulate a plan for
             trial, including facilitating the admission of evidence; consider the prospects of
             settlement; and consider such other matters as may aid in the trial or other disposition
             of the action.

      b.     Unless excused upon a showing of good cause, the attorney who is to conduct the
             trial shall attend the pretrial conference and shall come with full authority to act in
             all respects, or shall be accompanied by a representative of the party with such
             authority.

      c.     At least seven (7) days prior to the final pretrial conference, counsel shall file:

             i.       Trial briefs.

             ii.      A joint statement of the case and statement of the elements of the claims.
                      Unless the case is very complex, the joint statement of the case should not
                      exceed one paragraph. If the parties are unable to agree on the language of
                      a joint statement of the case, then separate, concise, non-argumentative
                      statements shall be filed. The purpose of the joint statement of the case is
                      to summarize the nature of the case.

             iii.     A copy of the proposed findings of fact and conclusions of law. The above
                      documents must be compatible with WordPerfect and sent by e-mail to Judge
                      Neff’s Judicial Assistant, Chris Bockheim at
                      chris_bockheim@miwd.uscourts.gov and Judge Neff’s law clerk to whom
                      the case is assigned, kathleen_geiger@miwd.uscourts.gov.




Dated: May 17, 2019                           /s/ Janet T. Neff
                                            JANET T. NEFF
                                            UNITED STATES DISTRICT JUDGE




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